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                                                     U.S. Department of Justice



•                                                   United States Attorney
                                                    Southern District of New York

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                                                    New York. New York 10007



                                                     July 18, 2016


BY EMAIL
Hon. Jed S. Rakoff
United States District Judge
United States District Court
500 Pearl Street
New York, New York 10007
RakoffNYSDChambers@nysd.uscourts.gov

   Re: ACLU v. Admin.for Children & Families, 16 Civ. 1987 (JSR)

Dear Judge Rakoff:

    I write respectfully on behalf of both parties pursuant to the Court's order of May 16, 2016,
to provide a status report to the Court regarding this FOIA case, and to propose further deadlines.

     The Department of Health and Human Services, Administration for Children and Families
(the "Government") has now completed its productions of records responsive to the ACLU's
FOIA request, and the ACLU has provided the Government with a list of withholdings for which
it requests a draft Vaughn index.

    The parties propose that the Government provide a draft Vaughn index to the ACLU by
August 8, 2016, after which the parties will work diligently to resolve outstanding disputes
regarding the Government's withholdings, so as to avoid unnecessary litigation. The parties
propose that they provide another status report to the Court by August 29, 2016, in which the
parties will notify the Court whether summary judgment motions will be necessary and, if so,
propose a briefing schedule, or, if summary judgment motions are not necessary, propose a
schedule for the parties to address any issues regarding attorney's fees.




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       We thank the Court for its consideration of this matter.

                                             Respectfully,

                                             PREET BHARARA
                                             United States Attorney for the
                                             Southern District of New York
                                             Attorney for Defendant

                                         by: /s/ Elizabeth Tulis
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cc: Brigitte Amiri
    Brian Hauss
    Attorneys for Plaintiff
